        Case:18-01011-SDB Doc#:14 Filed:09/09/18 Entered:09/10/18 00:53:01                                            Page:1 of 2
                                               United States Bankruptcy Court
                                               Southern District of Georgia
Joseph E. Mitchell, III, Chapter 7 Trust,
         Plaintiff                                                                                Adv. Proc. No. 18-01011-SDB
Brickyard Holdings, LLC,
         Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 113J-1                  User: ctoole                       Page 1 of 1                          Date Rcvd: Sep 07, 2018
                                      Form ID: GASA03                    Total Noticed: 5


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 09, 2018.
dft            +Brickyard Holdings, LLC,   7401 Graham Road,   Fairburn, GA 30213-2915
pla             Joseph E. Mitchell, III, Chapter 7 Trustee for Rob,    P. O. Box 2504,   Augusta, GA 30903-2504
intp           +Kimberly L. Norland,   3526 Evans to Locks Road,    Augusta, GA 30907-3366
intp           +Robert B. Norland,   3526 Evans to Locks Road,   Augusta, GA 30907-3366

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
ust            +E-mail/Text: ustpregion21.sv.ecf@usdoj.gov Sep 07 2018 18:42:19     Office of the U. S. Trustee,
                 Johnson Square Business Center,   2 East Bryan Street, Ste 725,   Savannah, GA 31401-2638
                                                                                            TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
aty               None Specified
intp              Scott Seymour
                                                                                                                    TOTALS: 2, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 09, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 7, 2018 at the address(es) listed below:
              James S.V. Weston   on behalf of Plaintiff   Joseph E. Mitchell, III, Chapter 7 Trustee for
               Robert B. Norland & Kimberly L. Norland jamie@trotterjones.com, Nancy@trotterjones.com
              Office of the U. S. Trustee   Ustpregion21.sv.ecf@usdoj.gov
                                                                                            TOTAL: 2
   Case:18-01011-SDB Doc#:14 Filed:09/09/18 Entered:09/10/18 00:53:01                                          Page:2 of 2
                           UNITED STATES BANKRUPTCY COURT
                                             Southern District of Georgia

In the matter of:

Robert B. Norland and Kimberly L. Norland
Chapter 7 Case No. 17−10785−SDB
       Debtor(s)

Joseph E. Mitchell, III, Chapter 7 Trustee for Robert
B. Norland & Kimberly L. Norland
       Plaintiff(s)
                                                             Adversary Proceeding
vs.                                                          No. 18−01011−SDB
Brickyard Holdings, LLC
       Defendant(s)




                                                 ENTRY OF DEFAULT


It appears from the record that the following defendant failed to plead or otherwise defend in this case as required by law:

Brickyard Holdings, LLC

Therefore, default is entered against the defendant as authorized by Bankruptcy Rule 7055.



                                                                                  Lucinda Rauback, CLERK
                                                                                  United States Bankruptcy Court
                                                                                  Federal Justice Center
                                                                                  600 James Brown Blvd
                                                                                  P.O. Box 1487
                                                                                  Augusta, GA 30903




Date of issuance: September 7, 2018



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